[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
This is a tax appeal challenging the validity of the assessment, laid against real estate owned by the plaintiff and known as a portion of 266 East Main Street, Clinton, Connecticut, on the grand list of October 1, 1994.
After a full hearing, the parties present and/or represented by counsel, based on a preponderance of the credible, relevant and legally admissible evidence, the court finds, determines and rules as follows:
The Assessor set a fair market value of the plaintiffs real estate at $6,346,457.00, land and buildings, assessment at $4,442,520.00 after applying the 70% assessment rate.
The plaintiff, within the time prescribed by law, appealed to the Board of Assessment Appeals for a reduction of said assessment. Said Board reduced the assessment of the building to $3,144,670.00. This appeal followed.
At trial, the plaintiff's expert appraiser, Robert J. Nocera, opined that the real property subject to this appeal had a fair market value of $4,450,000.00 land and improvements. CT Page 523
The defendant's expert appraiser, John J. Valente, testified that he found the fair market value of said property to be $6,346,000.00, land and improvements.
In valuating property, the trial court is charged with the duty of making an independent valuation of the property involved.E  F Realty Co. v. Commissioner of Transportation,173 Conn. 247, 253, 377 A.2d 302 (1977). The trier is not limited to arbitrating the differing opinions of the witnesses but is to make determinations in the light of all the circumstances, the evidence and his general knowledge. Pandolphe's Auto Parts, Inc.v. Manchester, 181 Conn. 217, 220, 435 A.2d 24 (1980); Birnbaumv. Ives, 163 Conn. 12, 21, 301 A.2d 262 (1972). The trier may accept or reject the testimony of an expert, offered by one party or another, in whole or in part. Smith v. Smith, 183 Conn. 121,123, 438 A.2d 847 (1981); Richard v. A. Waldman  Sons, Inc.,155 Conn. 343, 348, 232 A.2d 307 (1967); see also Pandolphe's AutoParts v. Manchester, supra, 221. Ultimately, the determination of the value of real estate is a matter of opinion, which eventually depends upon the considered judgment of the trial judge who takes into account the different opinions expressed by the various witnesses. Moss v. New Haven Redevelopment Agency, 146 Conn. 421,424, 151 A.2d 693 (1959).
Applying the aforesaid law to the facts and circumstances of this case, the court, in agreement with the valuation of the Town of Clinton finds the true and actual value of the property, subject to this appeal, as of October 1, 1994 to be $6,110,014.00 and the assessed value, at 70%, to be $4,277,010.00.
Accordingly, judgment may enter for the defendant, Town of Clinton, against the plaintiff, Walnut Grove Associated, LP, dismissing the appeal and for costs of suit.
SPALLONE JUDGE TRIAL REFEREE